                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

                             Plaintiff,

              -v-                                         Case No. 03-CR-259

GARY R. GEORGE,

                             Defendant.



                             DECISION AND ORDER


       On May 3, 2006, this Court ordered Gary George (“George”) to pay the State of

Wisconsin $568,596.48 in restitution. George subsequently filed a motion to correct clear

error pursuant to Rule 35 of the Federal Rules of Criminal Procedure. George claims that

this Court did not comply with the Seventh Circuit Court of Appeals’ decision of United

States v. George, 403 F.3d 470 (7th Cir. 2005), by not receiving written submissions of

the parties and by not providing reasons for this Court’s order.

       George’s claim is baseless. After the Seventh Circuit remanded this Court’s first

restitution order, the parties submitted briefs on the question of restitution. (See Docket

Nos. 150 & 152.) This Court then issued an opinion that explained the reasons why

George owes $568,596.48 in restitution. (See Docket No. 156.)




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   George’s motion to correct clear error, therefore, is DENIED.




         Dated at Milwaukee, Wisconsin, this 14th day of June, 2006.

                                         SO ORDERED,

                                         s/ Rudolph T. Randa
                                         HON. RUDOLPH T. RANDA
                                         Chief Judge




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